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      Attorneys for Omni 808 Investors, LLC
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  7
  8                               UNITED STATES DISTRICT COURT
  9                          CENTRAL DISTRICT OF CALIFORNIA
10                                     SOUTHERN DIVISION
11    CARTER BRYANT, an individual,            Case No. CV 04-9049 DOC (RNBx)
12                   Plaintiff,                Consolidated with Case No. CV 04-9059
                                               and Case No. CV 05-2727
13             v.
14    MATTEL, INC., a Delaware                 JOINT MOTION FOR INDICATIVE
      corporation,                             RULING ON MOTION FOR
15                                             AMENDED JUDGMENT TO
                     Defendant.                CORRECT CLERICAL MISTAKE
16                                             PURSUANT TO FEDERAL RULE OF
                                               CIVIL PROCEDURE 62.1
17
      AND CONSOLIDATED ACTIONS.                Date: TBD
18                                             Time: TBD
                                               Dept: Courtroom 9D
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                                               Judge: Hon. David O. Carter
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                                                          JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
                                                                                       AMENDED JUDGMENT
                                                                                CV-04-9049 DOC (RNBX)

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  1            Pursuant to the Ninth Circuit’s September 6, 2011 order, Federal Rule of
  2   Appellate Procedure 12.1 and Federal Rule of Civil Procedure 62.1, parties Omni
  3   808 Investors, LLC (“Omni”), Mattel, Inc. and Mattel de Mexico S.A. de C.V.
  4   (collectively, “Mattel”), Isaac Larian (“Larian”), and the MGA Parties (“MGA”)
  5   respectfully jointly move the Court for an indicative ruling that it will consider a
  6   motion requesting this Court amend its August 4, 2001 Judgment in this Action (the
  7   “Judgment”) as set forth herein. (Dkt. No. 10704).
  8            On August 11, 2011, Mattel filed a Notice of Appeal from the Judgment, “as
  9   well as any and all interlocutory rulings, decisions and orders that gave rise to the
10    judgment.” (Id.) After Mattel filed its Notice of Appeal, the parties realized that
11    the Judgment did not name all the parties and did not address all the claims that had
12    been resolved on the merits. Specifically, the parties concluded that the Judgment
13    should be amended because it did not include any disposition of Mattel’s claims
14    against Omni, and also omitted mention of the dismissed claims arising from Cal.
15    Civ. Code §§ 3439.04(a)(1), 3439.04(a)(2), 3439.05, 3439.07, and 3439.08, Cal.
16    Corp. Code §§ 501 and 506, breach of constructive trust, and 18 U.S.C. § 1964(c).1
17             Because Mattel has appealed the Judgment (Dkt. No. 10707), this Court has
18    been divested of jurisdiction to amend it. See Fed. R. Civ. P. 60(a). Consequently,
19    on August 24, 2011, Omni, Mattel, and MGA filed a joint motion in the Ninth
20    Circuit, seeking leave for this Court to amend the Judgment in accordance with
21    Rule 60(a). (See 9th Cir. Case No. 11-56357, Dkt. No. 8-1). The joint motion was
22    denied without prejudice on September 6, 2011. Id., Dkt. No. 11. Citing Federal
23    Rule of Appellate Procedure 12.1, the Ninth Circuit directed that the parties’
24    “motion for limited remand must include the district court’s willingness to consider
25    the Rule 60(a) motion.” Id.2 Accordingly, based on the foregoing, the parties
26    1
        A redlined version of the Judgment is submitted herewith, which highlights the
      parties and claims that the parties believe should be added to the Judgment to make
27    it consistent with prior orders entered by the Court. See Declaration of Peter N.
      Villar, Ex. A.
28    2
         Federal Rule of Appellate Procedure 12.1(b) states  JOINT that   “[i]f
                                                                   MOTION FOR      theRULING
                                                                              INDICATIVE district   court
                                                                                             ON MOTION FOR
                                                    -1-                                   AMENDED JUDGMENT
                                                                                     CV-04-9049 DOC (RNBX)

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  1   respectfully request an indicative ruling that this Court will consider the joint
  2   motion requesting this Court amend its judgment nunc pro tunc by (1) adding the
  3   name “Omni 808 Investors LLC,” on page 2 line 6, between the names “Isaac
  4   Larian” and “Carlos Gustavo Machado Gomez”; (2) adding the phrase “violation of
  5   18 U.S.C. § 1964(c)” on page 2 line 10, between “violation of 18 U.S.C. §
  6   1962(c),” and “violation of 18 U.S.C. § 1962(d)”; and (3) adding the phrase
  7   “violations of Cal. Civ. Code §§ 3439.04(a)(1), 3439.04(a)(2), 3439.05, 3439.07,
  8   and 3439.08, prohibited distributions under Cal. Corp. Code §§ 501 and 506,
  9   breach of constructive trust” on page 2 line 13, between “conversion” and “unfair
10    competition.” Dkt. No. 10704. In making this request and the statements herein,
11    Mattel expressly reserves, and does not waive, Mattel’s rights to challenge or
12    contest the dismissal orders or other orders addressing these claims or the amended
13    judgment on appeal or otherwise.
14             These additions will render the Judgment consistent with the prior orders
15    entered by the Court and avoid any confusion or lack of clarity. Specifically, the
16    Judgment does not reference Omni at all. However, on April 12, 2010, Mattel filed
17    its Fourth Amended Answer and Counterclaims in this action, which asserted a
18    number of claims against, among others, Omni. Dkt. No. 7733. On August 2,
19    2010, this Court dismissed all counterclaims against Omni without leave to amend.
20    Dkt. No. 8423 at 35-40.
21             The Judgment also makes no reference to Mattel’s thirteenth, fourteenth,
22    fifteenth and sixteenth counterclaims asserted against, inter alia, MGA and Larian
23    in the Fourth Amended Answer and Counterclaims. The Thirteenth and Fourteenth
24    Counterclaims in that pleading included claims arising from violations of Cal. Civ.
25    Code §§ 3439.04(a)(1), 3439.04(a)(2), 3439.05, 3439.07, and 3439.08 against
26    IGWT 826, Omni, Larian and MGA. Id. The Fifteenth Counterclaim asserted a
27
      states that it would grant the motion or that the motion raises a substantial issue, the
28    court of appeals may remand for further proceedings[.]”JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
                                                      -2-                                    AMENDED JUDGMENT
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  1   claim of prohibited distributions under Cal. Corp. Code §§ 501 and 506 against
  2   Larian, and the Sixteenth Counterclaim asserted a claim of breach of constructive
  3   trust against Larian and MGA. Id. On August 2, 2010, this Court dismissed the
  4   Thirteenth, Fourteenth, Fifteenth and Sixteenth counterclaims without leave to
  5   amend. Dkt. No. 8423 at 35-40.
  6            The Judgment also references only 18 U.S.C. § 1962(c) and (d) when
  7   addressing Mattel’s first and second counterclaims, while Mattel also brought those
  8   claims pursuant to 18 U.S.C. § 1964(c). On January 5, 2011, this Court granted
  9   summary judgment for MGA and Gustavo Machado on these two counterclaims.
10    See Mattel Inc. v. MGA Entm’t, No. 04 Civ. 9049, 2011 WL 1114250, at *78-96
11    (C.D. Cal. Jan. 5, 2011) (“Neither the first nor second counter-claims meet section
12    1964(c)’s requirements. MGA and Machado’s motions are therefore granted as to
13    both counter-claims.”).
14             The parties agree, based on the dismissal and summary judgment orders, that
15    the judgment should reflect judgment in favor of Omni on Mattel’s claims against
16    Omni and the dismissal of the Mattel counterclaims described above. In making
17    this request for nunc pro tunc amendment of the Judgment, the parties acknowledge
18    and agree that Mattel’s pending appeal of the Judgment (Court of Appeals No. 11-
19    56357) shall be deemed effective to appeal both the Judgment and the Court’s
20    amended judgment, should the Court amend the Judgment. The parties further
21    acknowledge and agree that, should the Court amend its Judgment to reflect the
22    changes proposed herein, no appeals from the Court’s amended judgment shall be
23    permitted other than the appeal already filed by Mattel, and that the act of amending
24    the Judgment to reflect the changes proposed herein, or of soliciting the amendment
25    of the Judgment, shall not give rise to a renewed right to appeal on the part of any
26    party who did not timely appeal the Judgment.
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                                                            JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
                                              -3-                                        AMENDED JUDGMENT
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      Dated: September 21, 2011    Respectfully submitted,
  2                                BINGHAM MCCUTCHEN LLP
  3
  4                                By: /s/ Todd E. Gordinier
                                      Todd E. Gordinier
  5                                   Attorneys for Omni 808 Investors, LLC
  6   DATED: September 21, 2011
                                    KELLER RACKAUCKAS LLP
  7
  8
                                    By: /s/ Jennifer L. Keller
  9                                    Jennifer L. Keller
                                       Attorneys for MGA ENTERTAINMENT,
10                                     INC., MGA ENTERTAINMENT HK, LTD.,
                                       MGA de MEXICO, S.R.L. de C.V., and
11                                     ISAAC LARIAN
12    DATED: September 21, 2011     QUINN EMANUEL URQUHART &
                                    SULLIVAN, LLP
13
14
                                    By: /s/ Michael T. Zeller
15                                     Michael T. Zeller
                                       Attorneys for Mattel, Inc.
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                                                      JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
                                         -4-                                       AMENDED JUDGMENT
                                                                            CV-04-9049 DOC (RNBX)

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  1                                   PROOF OF SERVICE
  2
      I am over eighteen years of age, not a party in this action, and employed in the
  3   County of Orange, California at 600 Anton Boulevard, 18th Floor, Costa Mesa,
      California 92626-1924.
  4
      On September 21, 2011, I served the attached:
  5
      JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
  6   AMENDED JUDGMENT TO CORRECT CLERICAL MISTAKE
      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 62.1
  7
      On each interested party in this action, as follows:
  8
  9          :       (BY ELECTRONIC MAIL) I electronically filed this document
10                   through the Court’s CM/ECF systems and all parties who are registered
                     with the Court’s CM/ECF System received a copy by electronic mail.
11
12
      I declare under penalty of perjury under the laws of the State of California that the
13    foregoing is true and correct and that this declaration was executed on September
      21, 2011, at Costa Mesa, California.
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15
                                                     /s/ Paul A. McConnell
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                                                             JOINT MOTION FOR INDICATIVE RULING ON MOTION FOR
                                               -1-                                        AMENDED JUDGMENT
                                                                                   CV-04-9049 DOC (RNBX)

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